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                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MISSOURI
                                         EASTERN DIVISION


     In re:
                                                                       Case No. 16-41161-659

     ABENGOA BIOENERGY US HOLDING LLC, et al.,                         Jointly Administered

                                     Debtors.                          Re: Dkt. No. 2107


                 ORDER GRANTING THE GUC LIQUIDATING TRUSTEE’S AMENDED
                  MOTION FOR AN ORDER TO MAKE AN INTERIM DISTRIBUTION
                  TO HOLDERS OF ABI/ABIL CLAIMS AND FOR RELATED RELIEF

              Upon the GUC Liquidating Trustee’s Amended Motion For An Order To Make An Interim

 Distribution to Holders of ABI/ABIL General Unsecured Claims And For Related Relief (the “Motion”)1

 of the GUC Liquidating Trustee for entry of an order, pursuant to sections 105(a)and 1142 of the

 Bankruptcy Code, Bankruptcy Rule 3021, and Article V.D. of the Plan to authorize the GUC Liquidating

 Trustee to make a distribution to the creditors of Abengoa Bioenergy of Indiana, LLC (“ABI”) and

 Abengoa Bioenergy or Illinois, LLC (“ABIL, and together with ABI, ABI/ABIL”), all as more fully set

 forth in the Motion and the Court having jurisdiction to consider the Motion and the relief requested

 therein pursuant to 28 U.S.C. § 1334; and consideration of the Motion being a core proceeding pursuant

 to 28 U.S.C. § 157(b)(2); and venue being proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409;

 and it appearing that notice of the Motion was adequate and proper under the circumstances of these

 Chapter 11 Cases and that no further or other notice need be given; and the Court having determined that

 the relief requested in the Motion is in the best interests of the Debtors, their estates, and creditors and

 that the legal and factual bases set forth in the Motion establish just cause for the relief granted herein;

 and after due deliberation and sufficient cause appearing therefor,

              IT IS HEREBY ORDERED THAT:

                     1.      The Motion is GRANTED to the extent set forth herein.


 1
     Capitalized terms not defined in this Order shall have the meanings given to them in the Motion.
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                 2.       The GUC Liquidating Trustee and the Disbursing Agent, as applicable, is hereby

 authorized to make an Interim Distribution in the total amount of $13,031,602.66:

                 a. to Allowed Class 2 ABI/ABIL Claims to the extent and as such Allowed Class 2

                      ABI/ABIL Claims are set forth on Exhibit A hereto, which lists respective Allowed

                      Class 2 ABI/ABIL Claims and their respective amounts;

                 b. to be disbursed to claim holders as of the March 2, 2017 Record Date, provided that to

                      the extent there have been transfers of claims under Bankruptcy Rule 3001 that are

                      reflected in the claims registry maintained by Prime Clerk and no unresolved

                      objections   to   such   transfers   remain   pending,    then   the GUC      Litigation

                      Trustee/Disbursing Agent is hereby authorized (but not required) to make Distributions

                      to transferees in respect of such transferred claims in accordance with the Claims

                      Register as of October 1, 2020;

                 c. upon the occurrence of the next Distribution Date following the entry of this Order,

                      including to Allowed Claims upon receipt of appropriate taxpayer identification and

                      other applicable information if the GUC Liquidating Trustee/Disbursing Agent has not

                      yet received such information, and for the avoidance of doubt, such distributions may

                      be made, although shall not be required to be made, in the sole and absolute discretion

                      of the GUC Liquidating Trustee/Disbursing Agent, prior to the next Distribution Date

                      that follows December 31, 2020).

                 3.       The GUC Liquidating Trustee and the Disbursing Agent, as applicable, is hereby

 authorized to make an Interim Distribution to Allowed Administrative and Allowed Priority Claims and to

 utilize and apply the provisions of this Order (including but limited to the provisions of Paragraphs 2, 6 and

 7) in respect of making such distributions.

                 4.       The GUC Liquidating Trustee is hereby authorized to establish and fund an

 ABI/ABIL Class 2 Disputed Claims Reserve, in the amount of $7,078,916.47, to the extent and as such

 ABI/ABIL Class 2 Disputed Claims are set forth on Exhibit A hereto, which lists respective ABI/ABIL


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 Class 2 Disputed Claims and their respective amounts The ABI/ABIL [Class 2] Disputed Claims Reserve

 shall be held in an account under the control of the GUC Liquidating Trustee. If any Holder of a Claim

 subject to the ABI/ABIL Class 2 Disputed Claim Reserve is hereafter Allowed, then it shall be paid in

 accordance with the Plan , unless otherwise ordered by the Court.

                 5.       The GUC Liquidating Trustee is hereby authorized to establish and fund an

 additional reserve of $2,000,000.00 in respect of potential tax claims.

                 6.       In order to receive Distributions under the Plan, all Holders of Claims must identify

 themselves and provide tax information to the Disbursing Agent to the extent the Disbursing Agent deems

 necessary and appropriate. The Disbursing Agent may refuse to make a Distribution to any Holder of an

 Allowed Claim that fails to provide such information within the time period specified by the Disbursing

 Agent and such Distribution shall be deemed an unclaimed Distribution under Section 8.6 of the GUC

 Liquidating Trust Agreement and Article V.F of the Plan. Any Holders who fail to provide a completed

 Form W9, “Request for Taxpayer Identification Number and Certification” by December 30, 2020 to:

                              Abengoa Bioenergy Claims Processing Center
                                         c/o Prime Clerk LLC
                                     850 Third Avenue, Suite 412
                                      Brooklyn, New York 11232
                                 Email: abengoaTIN@primeclerk.com

 may have their claims deemed to be unclaimed Distributions under Section 8.6 of the GUC Liquidating

 Trust Agreement and Article V.F. of the Plan, and thus would not receive any distribution in respect of such

 claims.

                 7.       Articles V.F. and V. H. of the Plan and Section 8.6 of the GUC Liquidating Trust

 shall apply to any undeliverable and unclaimed distributions attempted to be disbursed in in connection

 with the Interim Distribution and to future distributions on ABI/ABIL Disputed Claims if and when such

 claims become Allowed claims.

                 8.       The GUC Liquidating Trustee is hereby authorized to take any further action

 necessary to effect the Interim Distribution.




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                 9.      All rights and powers of the GUC Liquidating Trustee and the Disbursing Agent

 under the Confirmation Order, the Plan, and the GUC Liquidating Trust remain and are preserved.

                 10.     Should the Disbursing Agent discover any errors in the Claims it is authorized to

 pay under this Order, then it may adjust any Distribution as it deems necessary and appropriate.

                 11.     The Court shall retain jurisdiction to enforce this Order.

         No later than two (2) business days after entry of this Order, counsel for the GUC

 Liquidating Trustee shall serve a copy of this Order on the Notice Parties and shall file a certificate

 of service no later than 24 hours after service.


                                                                   KATHY A. SURRATT-STATES
                                                                    Chief U.S. Bankruptcy Judge
 DATED: December 23, 2020
 St. Louis, Missouri
 jjh




 Order Prepared by:
 Mark V. Bossi
 Thompson Coburn LLP
 One US Bank Plaza
 St. Louis, MO 63101
 mbossi@thompsoncoburn.com




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                                    EXHIBIT A
              Abengoa Bioenergy of Case
                                   Indiana 16-41161
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              Abengoa Bioenergy of Illinois - Case No. 16-44195                      Allowed Administrative Claims                                       Initial Distribution
                                                                                            Pg 6 of 12
                                    ABI / ABIL                                                                                               Administrative
                                 Creditor Name                                 Claim No.                      Debtor            Date Filed   Claim Amount             Claim Status
The CIT Group Equipment Financing, Inc.                                         ABI 53‐1   Abengoa Bioenergy of Indiana LLC    12/14/2016                  ‐‐             Paid
CRG Financial LLC as transferee of Equipment Depot of Kentucky, Inc.          ABUS 250‐1   Abengoa Bioenergy of Indiana LLC    10/17/2016                  ‐‐             Paid
Trinity Industries Leasing Company                                             ABIL 46‐1   Abengoa Bioenergy of Illinois LLC   10/28/2016                  ‐‐             Paid
The CIT Group Equipment Financing, Inc.                                        ABIL 48‐1   Abengoa Bioenergy of Illinois LLC   12/14/2016                  ‐‐             Paid
Securitas Security Services USA, Inc.                                             56‐1     Abengoa Bioenergy of Illinois LLC    2/27/2017          $11,621.25           Allowed
                                                                                                                                                   $11,621.25




                                                                                                     1
              Abengoa Bioenergy of Case
                                   Indiana 16-41161
                                            - Case No. 16-44194
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              Abengoa Bioenergy of Illinois - Case No. 16-44195                       Allowed Priority Claims                                             Initial Distribution
                                                                                          Pg 7 of 12
                                 ABI / ABIL                                                                                                      Priority
                               Creditor Name                                   Claim No.                      Debtor            Date Filed   Claim Amount               Claim Status
Indiana Department of Revenue                                                   ABI 1‐1    Abengoa Bioenergy of Indiana LLC     8/31/2016                   ‐‐              Paid
PhibroChem, Inc                                                                 ABI 13‐1   Abengoa Bioenergy of Indiana LLC     9/30/2016                   ‐‐              Paid
Argo Partners as transferee of Flottweg Separation Technology                   ABI 18‐1   Abengoa Bioenergy of Indiana LLC     9/30/2016                   ‐‐              Paid
Midland Scientific, Inc.                                                        ABI 25‐1   Abengoa Bioenergy of Indiana LLC    9/30/2016                    ‐‐              Paid
The CIT Group Equipment Financing, Inc.                                         ABI 53‐1   Abengoa Bioenergy of Indiana LLC    12/14/2016                   ‐‐              Paid
ALX Enterprises LLC                                                             ABI 57‐1   Abengoa Bioenergy of Indiana LLC     2/27/2017                   ‐‐              Paid
B.E. Capital Management Fund LP/ Brenntag Mid‐South                             ABI 60‐1   Abengoa Bioenergy of Indiana LLC     4/10/2017                   ‐‐              Paid
Union Security Insurance                                                        ABI 64‐1   Abengoa Bioenergy of Indiana LLC     8/14/2017                   ‐‐              Paid
MILLENNIUM CONTRACTORS, INC.                                                  ABUS 159‐1   Abengoa Bioenergy of Indiana LLC     9/30/2016                 290.00
CRG Financial LLC as transferee of Equipment Depot of Kentucky, Inc.          ABUS 250‐1   Abengoa Bioenergy of Indiana LLC    10/17/2016                   ‐‐              Paid
Argo Partners as transferee of Flottweg Separation Technology                  ABIL 19‐1   Abengoa Bioenergy of Illinois LLC    9/30/2016                   ‐‐              Paid
4B Components Ltd.                                                             ABIL 23‐1   Abengoa Bioenergy of Illinois LLC    9/30/2016                   ‐‐              Paid
Trinity Industries Leasing Company                                             ABIL 46‐1   Abengoa Bioenergy of Illinois LLC   10/28/2016                   ‐‐              Paid
The CIT Group Equipment Financing, Inc.                                        ABIL 48‐1   Abengoa Bioenergy of Illinois LLC   12/14/2016                   ‐‐              Paid
B.E. Capital Management Fund LP/ Brenntag Mid‐South                            ABIL 58‐1   Abengoa Bioenergy of Illinois LLC    4/10/2017                   ‐‐              Paid
Midland Scientific, Inc.                                                       ABIL 28‐1   Abengoa Bioenergy of Illinois LLC    9/30/2016                   ‐‐              Paid
                                                                                                                                                        $290.00




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              Abengoa Bioenergy of Case
                                   Indiana 16-41161
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              Abengoa Bioenergy of Illinois - Case No. 16-44195                                 Class 2 Claims - Indiana                                            Initial Distribution
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                                         ABI / ABIL                                                                                                      ABI / ABIL Class 2
                                       Creditor Name                                      Claim No.                    Debtor              Date Filed     Claim Amount             Claim Status
4B Components Ltd.                                                                           24‐1     Abengoa Bioenergy of Indiana, LLC      9/30/2016            $2,455.00      Class 2 (Allowed)
ACTION EQUIPMENT SALES CO., INC                                                            500327     Abengoa Bioenergy of Indiana, LLC            n/a               $697.41     Class 2 (Allowed)
Airgas Specialty Products, Inc                                                             500328     Abengoa Bioenergy of Indiana, LLC            n/a           $19,804.23      Class 2 (Allowed)
Alfa Laval, Inc.                                                                             21‐1     Abengoa Bioenergy of Indiana, LLC      9/30/2016           $17,829.12      Class 2 (Allowed)
ALPHA MECHANICAL SERVICE, INC.                                                             500329     Abengoa Bioenergy of Indiana, LLC            n/a           $13,199.70      Class 2 (Allowed)
ALX Enterprises LLC                                                                          57‐1     Abengoa Bioenergy of Indiana, LLC      2/27/2017           $32,020.00      Class 2 (Allowed)
Argo Partners as transferee of Flottweg Separation Technology                                18‐1     Abengoa Bioenergy of Indiana, LLC      9/30/2016           $49,431.51      Class 2 (Allowed)
Argo Partners as Transferee of Morley and Associates Inc                                 ABUS 206‐1                                          9/30/2016           $12,061.38      Class 2 (Allowed)
Argo Partners as Transferee of Seay Transport, LLC                                           29‐1     Abengoa Bioenergy of Indiana, LLC     10/14/2016           $72,985.28      Class 2 (Allowed)
Argo Partners as Transferee of TODD THOMAS FARM LLC                                        500333     Abengoa Bioenergy of Indiana, LLC            n/a           $13,497.00      Class 2 (Allowed)
ASM Capital V, L.P as Transferee of KM Specialty Pumps Inc                                 500392     Abengoa Bioenergy of Indiana, LLC            n/a            $7,766.80      Class 2 (Allowed)
B.E. Capital Management Fund LP as Transferee of Brenntag Mid‐South                          60‐1     Abengoa Bioenergy of Indiana, LLC      4/10/2017           $49,475.23      Class 2 (Allowed)
Bearing Headquarters Co.                                                                     20‐1     Abengoa Bioenergy of Indiana, LLC      9/30/2016            $5,977.86      Class 2 (Allowed)
Big River Rubber & Gasket Co., Inc.                                                        500347     Abengoa Bioenergy of Indiana, LLC            n/a               $393.34     Class 2 (Allowed)
BLACK EQUIPMENT CO, INC.                                                                 ABUS 184‐1                                          9/30/2016            $3,945.29      Class 2 (Allowed)
Bodine Services of Evansville LLC                                                            58‐1     Abengoa Bioenergy of Indiana, LLC      2/27/2017           $96,087.25      Class 2 (Allowed)
Cargill, Incorporated                                                                        33‐1     Abengoa Bioenergy of Indiana, LLC     10/14/2016        $1,938,784.95      Class 2 (Allowed)
CB&I Environment & Infrastructure,                                                         500361     Abengoa Bioenergy of Indiana, LLC            n/a            $3,650.00      Class 2 (Allowed)
CERAMIC TECHNOLOGY, INC                                                                      45‐1     Abengoa Bioenergy of Indiana, LLC     10/28/2016           $17,195.00      Class 2 (Allowed)
ChemTreat INC                                                                              500280     Abengoa Bioenergy of Indiana, LLC            n/a            $7,572.00      Class 2 (Allowed)
Cintas Corporation (Evansville, IN)                                                        500505     Abengoa Bioenergy of Indiana, LLC            n/a           $15,917.78      Class 2 (Allowed)
Conney Safety Products, LLC.                                                               500506     Abengoa Bioenergy of Indiana, LLC            n/a            $5,799.89      Class 2 (Allowed)
CONTROL‐TECH,INC                                                                           500508     Abengoa Bioenergy of Indiana, LLC            n/a            $2,009.36      Class 2 (Allowed)
CRG Financial LLC as transferee of Equipment Depot of Kentucky, Inc                          52‐1     Abengoa Bioenergy of Indiana, LLC      12/2/2016           $49,403.07      Class 2 (Allowed)
CRG Financial LLC As Transferee of Medic On‐Site Services, LLC                               61‐1     Abengoa Bioenergy of Indiana, LLC      4/28/2017            $5,160.00      Class 2 (Allowed)
CRG Financial LLC as Transferee of Tri‐State Fire Protection, Inc.                         500338     Abengoa Bioenergy of Indiana, LLC            n/a           $20,572.88      Class 2 (Allowed)
DE LAGE LANDEN FINANCIAL SERVICES I                                                        500509     Abengoa Bioenergy of Indiana, LLC            n/a            $1,437.14      Class 2 (Allowed)
Document & Network Technologies                                                            500510     Abengoa Bioenergy of Indiana, LLC            n/a               $139.23     Class 2 (Allowed)
E. I. du Pont de Nemours and Company                                                          8‐1     Abengoa Bioenergy of Indiana, LLC      9/15/2016          $283,130.04      Class 2 (Allowed)
Eurofins Analytical Laboratories                                                              4‐1     Abengoa Bioenergy of Indiana, LLC       9/2/2016            $1,842.00      Class 2 (Allowed)
EBN Construction and Industrial Supplies                                                      5‐1     Abengoa Bioenergy of Indiana, LLC      9/15/2016            $1,399.90      Class 2 (Allowed)
Evansville Sheet Metal Works Inc                                                           500514     Abengoa Bioenergy of Indiana, LLC            n/a            $2,225.00      Class 2 (Allowed)
EVANSVILLE WELDING SUPPLY LLC                                                                14‐1     Abengoa Bioenergy of Indiana, LLC      9/30/2016            $2,775.84      Class 2 (Allowed)
EVANSVILLE WELDING SUPPLY LLC                                                                15‐1     Abengoa Bioenergy of Indiana, LLC      9/30/2016               $218.16     Class 2 (Allowed)
Evansville Western Railway, Inc.                                                              6‐1     Abengoa Bioenergy of Indiana, LLC      9/15/2016          $510,743.54      Class 2 (Allowed)
EVAPAR, Inc                                                                                  17‐1     Abengoa Bioenergy of Indiana, LLC      9/30/2016            $8,723.50      Class 2 (Allowed)
Evoqua Water Technologies LLC                                                              500518     Abengoa Bioenergy of Indiana, LLC            n/a            $6,420.00      Class 2 (Allowed)
Fastenal Company                                                                           500519     Abengoa Bioenergy of Indiana, LLC            n/a            $1,693.18      Class 2 (Allowed)
GAVILON GRAIN                                                                              500523     Abengoa Bioenergy of Indiana, LLC            n/a               $850.00     Class 2 (Allowed)
German Township Water District Inc.                                                      ABUS 197‐1                                          9/30/2016            $1,648.81      Class 2 (Allowed)
Hain Capital Investors, LLC as Transferee of Archaea Solutions, Inc.                       500344     Abengoa Bioenergy of Indiana, LLC            n/a           $24,675.00      Class 2 (Allowed)
Hain Capital Investors, LLC as Transferee of CE Power Engineered Services                  500362     Abengoa Bioenergy of Indiana, LLC            n/a           $15,775.00      Class 2 (Allowed)
HARTLAND RENEWABLE FUELS, A                                                                500350     Abengoa Bioenergy of Indiana, LLC            n/a           $13,285.95      Class 2 (Allowed)
Hasgoe Cleaning Systems Inc                                                                500351     Abengoa Bioenergy of Indiana, LLC            n/a               $950.00     Class 2 (Allowed)
ICM, Inc.                                                                                 ABC 17‐1                                            6/2/2016            $4,976.00      Class 2 (Allowed)
INTERTEK USA, DBA                                                                          500354     Abengoa Bioenergy of Indiana, LLC            n/a           $48,216.75      Class 2 (Allowed)
J. W. Nutt Company                                                                           11‐3     Abengoa Bioenergy of Indiana, LLC      9/21/2016            $9,180.00      Class 2 (Allowed)
JEF Enterprises d/b/a Tri‐State Trophies                                                 ABUS 13‐1                                           4/27/2016            $2,067.89      Class 2 (Allowed)
King Mechanical Specialty                                                                  500356     Abengoa Bioenergy of Indiana, LLC            n/a               $969.52     Class 2 (Allowed)
Klemm Tank Lines                                                                         ABUS 198‐1                                          9/30/2016           $17,481.25      Class 2 (Allowed)
Koch Glitsch LP                                                                               7‐1     Abengoa Bioenergy of Indiana, LLC      9/15/2016           $24,112.35      Class 2 (Allowed)
Liquidity Solutions, Inc. as Transferee of SSC Mid States Supply, Inc                        10‐1     Abengoa Bioenergy of Indiana, LLC      9/15/2016            $3,042.69      Class 2 (Allowed)
             Abengoa Bioenergy of Case
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             Abengoa Bioenergy of Illinois - Case No. 16-44195                              Class 2 Claims - Indiana                                            Initial Distribution
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                                        ABI / ABIL                                                                                                   ABI / ABIL Class 2
                                      Creditor Name                                   Claim No.                    Debtor              Date Filed     Claim Amount             Claim Status
LLL Transport Inc                                                                      500394     Abengoa Bioenergy of Indiana, LLC            n/a           $86,703.47      Class 2 (Allowed)
MARINE INSPECTION SERVICE                                                              500395     Abengoa Bioenergy of Indiana, LLC            n/a            $1,850.00      Class 2 (Allowed)
Michael Market Inc.                                                                    500397     Abengoa Bioenergy of Indiana, LLC            n/a            $2,916.31      Class 2 (Allowed)
MICROBAC LABORATORIES, INC.                                                            500398     Abengoa Bioenergy of Indiana, LLC            n/a           $15,308.00      Class 2 (Allowed)
Midland Scientific, Inc.                                                                 25‐1     Abengoa Bioenergy of Indiana, LLC      9/30/2016           $11,260.17      Class 2 (Allowed)
MILLENNIUM CONTRACTORS, INC.                                                         ABUS 159‐1   Abengoa Bioenergy of Indiana, LLC      9/30/2016            $1,165.00      Class 2 (Allowed)
OFFICE DEPOT, INC.                                                                     500275     Abengoa Bioenergy of Indiana, LLC            n/a            $2,042.00      Class 2 (Allowed)
Ohio Valley Grain Inspection                                                           500276     Abengoa Bioenergy of Indiana, LLC            n/a                $24.00     Class 2 (Allowed)
Ohio Valley Insulation Company, Inc                                                    500277     Abengoa Bioenergy of Indiana, LLC            n/a           $48,717.48      Class 2 (Allowed)
PERKINELMER LAS, INC                                                                   500278     Abengoa Bioenergy of Indiana, LLC            n/a           $17,732.05      Class 2 (Allowed)
Pinnacle Engineering Inc.                                                              500279     Abengoa Bioenergy of Indiana, LLC            n/a           $20,469.86      Class 2 (Allowed)
POSEY COUNTY LLC                                                                       500270     Abengoa Bioenergy of Indiana, LLC            n/a            $2,068.33      Class 2 (Allowed)
PROQUIP                                                                                500271     Abengoa Bioenergy of Indiana, LLC            n/a               $355.57     Class 2 (Allowed)
Pumping Solutions, Inc                                                               ABUS 227‐1                                         10/14/2016           $58,031.92      Class 2 (Allowed)
Quality Liquid Feeds, Inc                                                                28‐1     Abengoa Bioenergy of Indiana, LLC     10/14/2016           $90,876.24      Class 2 (Allowed)
Raben Tire Co., LLC                                                                   ABUS 4‐1                                           3/31/2016            $2,908.00      Class 2 (Allowed)
RAILWORKS SIGNALS & COMMUNICATIONS,                                                    500281     Abengoa Bioenergy of Indiana, LLC            n/a               $317.52     Class 2 (Allowed)
Railworks Track Services‐ MO                                                           500282     Abengoa Bioenergy of Indiana, LLC            n/a            $8,523.30      Class 2 (Allowed)
River Bend Brokerage                                                                   500283     Abengoa Bioenergy of Indiana, LLC            n/a               $892.50     Class 2 (Allowed)
RUIZ GRANADOS, JOSE                                                                    500284     Abengoa Bioenergy of Indiana, LLC            n/a           $16,460.98      Class 2 (Allowed)
SCAFFOLD KING RENTALS, INC                                                           ABUS 193‐1                                          9/30/2016            $7,423.66      Class 2 (Allowed)
Securitas Security Services                                                               2‐1     Abengoa Bioenergy of Indiana, LLC      8/31/2016           $38,542.57      Class 2 (Allowed)
Servi‐Tech Laboratories                                                                500288     Abengoa Bioenergy of Indiana, LLC            n/a            $1,166.90      Class 2 (Allowed)
Sonar Asset Management Group, Inc. as Transferee of CED/Evansville Supply                16‐1     Abengoa Bioenergy of Indiana, LLC      9/30/2016            $2,427.30      Class 2 (Allowed)
Sonar Credit Partners III, LLC as Transferee of Wiese USA, Inc                         500299     Abengoa Bioenergy of Indiana, LLC            n/a           $13,197.00      Class 2 (Allowed)
Sonar Partners as ARNCO SOLUTIONS INC                                                ABUS 235‐1                                         10/14/2016            $1,838.87      Class 2 (Allowed)
Southern Indiana Gas & Electric Co                                                     500291     Abengoa Bioenergy of Indiana, LLC            n/a           $66,483.52      Class 2 (Allowed)
SOUTHERN INDIANA SCALE CO INC                                                          500292     Abengoa Bioenergy of Indiana, LLC            n/a            $1,358.00      Class 2 (Allowed)
St. Louis Boiler Supply Co.                                                            500293     Abengoa Bioenergy of Indiana, LLC            n/a           $10,034.72      Class 2 (Allowed)
St. Mary's Occupational Medicine                                                       500294     Abengoa Bioenergy of Indiana, LLC            n/a               $658.00     Class 2 (Allowed)
SynEnergy Partners LLC                                                               ABUS 74‐1                                           7/22/2016           $18,129.42      Class 2 (Allowed)
The Cit Group Equipment Financing, Inc.                                                  19‐1     Abengoa Bioenergy of Indiana, LLC      9/30/2016          $756,935.06      Class 2 (Allowed)
The Cit Group Equipment Financing, Inc.                                                  54‐1     Abengoa Bioenergy of Indiana, LLC     12/14/2016        $2,193,064.94      Class 2 (Allowed)
THOMAS SCIENTIFIC INC.                                                                 500332     Abengoa Bioenergy of Indiana, LLC            n/a           $23,650.00      Class 2 (Allowed)
TRC Master Fund LLC as Transferee of Ceres Consulting LLC                              500364     Abengoa Bioenergy of Indiana, LLC            n/a           $18,441.50      Class 2 (Allowed)
TRC Master Fund LLC as Transferee of Innospec Fuel Specialties                         500353     Abengoa Bioenergy of Indiana, LLC            n/a           $38,295.00      Class 2 (Allowed)
TRC Master Fund LLC as Transferee of Mid‐America Locomotive & Car Repair Inc             59‐1     Abengoa Bioenergy of Indiana, LLC      3/15/2017           $13,418.86      Class 2 (Allowed)
Tri‐State Bearing Co.                                                                ABUS 169‐1                                          9/30/2016           $24,756.92      Class 2 (Allowed)
Tri‐State Lighting and Supply Co, Inc.                                               ABUS 144‐1                                          9/15/2016               $960.66     Class 2 (Allowed)
United Parcel Service                                                                  500340     Abengoa Bioenergy of Indiana, LLC            n/a                $36.50     Class 2 (Allowed)
VANDCO ASSOCIATES, LLC DBA                                                             500341     Abengoa Bioenergy of Indiana, LLC            n/a            $4,922.00      Class 2 (Allowed)
VWR International Inc                                                                  500342     Abengoa Bioenergy of Indiana, LLC            n/a               $100.50     Class 2 (Allowed)
Weaver and Tidwell, L.L.P.                                                             500296     Abengoa Bioenergy of Indiana, LLC            n/a            $4,000.00      Class 2 (Allowed)
Westmor Fluid Solutions, LLC                                                           500297     Abengoa Bioenergy of Indiana, LLC            n/a           $10,783.41      Class 2 (Allowed)
Whayne Supply Company                                                                  500298     Abengoa Bioenergy of Indiana, LLC            n/a            $3,122.01      Class 2 (Allowed)
Wilcox Environmental Engineering,                                                      500300     Abengoa Bioenergy of Indiana, LLC            n/a            $3,600.00      Class 2 (Allowed)
Xylem Water Solutions U.S.A., Inc.                                                     500301     Abengoa Bioenergy of Indiana, LLC            n/a            $2,176.29      Class 2 (Allowed)
Abengoa Bioenergy of Case
                     Indiana             - Case No. 16-44194
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Abengoa Bioenergy of Illinois             - Case No. 16-44195                                 Class 2 Claims - Illinois                                                        Initial Distribution
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                                            ABI / ABIL                                                                                                   ABI / ABIL Class 2
                                          Creditor Name                                  Claim No.                    Debtor              Date Filed      Claim Amount           Claim Status
 Illinois Department of Agriculture                                                       500429     Abengoa Bioenergy of Illinois, LLC            n/a               $140.00   Class 2 (Allowed)
 Illinois Department of Revenue Bankruptcy Section                                          54‐1     Abengoa Bioenergy of Illinois, LLC       2/9/2017             $2,973.25   Class 2 (Allowed)
 Inpro Seal Company Inc                                                                   500432     Abengoa Bioenergy of Illinois, LLC            n/a             $3,573.40   Class 2 (Allowed)
 INTERTEK USA, DBA                                                                        500433     Abengoa Bioenergy of Illinois, LLC            n/a            $15,066.99   Class 2 (Allowed)
 J C Ehrlich Co. Inc.                                                                     500434     Abengoa Bioenergy of Illinois, LLC            n/a             $2,570.00   Class 2 (Allowed)
 J. W. Nutt Company                                                                         14‐4     Abengoa Bioenergy of Illinois, LLC    12/19/2017              $5,400.00   Class 2 (Allowed)
 J.H. Russell Forwarding Co. dba                                                          500436     Abengoa Bioenergy of Illinois, LLC            n/a            $27,560.00   Class 2 (Allowed)
 JJ Keller & Associates Inc.                                                            ABUS 125‐1                                            9/9/2016             $2,076.69   Class 2 (Allowed)
 John Zink Company LLC                                                                    500441     Abengoa Bioenergy of Illinois, LLC            n/a             $6,480.91   Class 2 (Allowed)
 Liquidity Solutions, Inc. as Transferee of SSC Mid States Supply, Inc.                     10‐1     Abengoa Bioenergy of Illinois, LLC     9/15/2016             $28,697.86   Class 2 (Allowed)
 M.D. MAGARY CONSTRUCTION CO.                                                             500442     Abengoa Bioenergy of Illinois, LLC            n/a            $32,500.00   Class 2 (Allowed)
 MH Equipment                                                                           ABUS 265‐1                                          2/27/2017                $548.50   Class 2 (Allowed)
 MIDLAND SCIENTIFIC, INC.                                                                   28‐1     Abengoa Bioenergy of Illinois, LLC     9/30/2016             $11,166.34   Class 2 (Allowed)
 Murphy Company                                                                           500445     Abengoa Bioenergy of Illinois, LLC            n/a             $7,442.63   Class 2 (Allowed)
 Norfolk Southern Railway Company                                                         500446     Abengoa Bioenergy of Illinois, LLC            n/a             $2,800.00   Class 2 (Allowed)
 OFFICE DEPOT, INC.                                                                         3‐1      Abengoa Bioenergy of Illinois, LLC     8/31/2016              $3,501.56   Class 2 (Allowed)
 ONESOURCE WATER, LLC                                                                     500448     Abengoa Bioenergy of Illinois, LLC            n/a               $984.24   Class 2 (Allowed)
 PERKINELMER LAS, INC                                                                     500449     Abengoa Bioenergy of Illinois, LLC            n/a             $3,017.50   Class 2 (Allowed)
 PINE ENVIRONMENTAL SERVICES, LLC                                                         500450     Abengoa Bioenergy of Illinois, LLC            n/a             $7,208.51   Class 2 (Allowed)
 Pinnacle Engineering Inc.                                                                500451     Abengoa Bioenergy of Illinois, LLC            n/a             $9,975.00   Class 2 (Allowed)
 Pioneer Industrial Corporation                                                           500452     Abengoa Bioenergy of Illinois, LLC            n/a             $4,678.94   Class 2 (Allowed)
 Plant Maintenance Services,                                                              500453     Abengoa Bioenergy of Illinois, LLC            n/a            $22,621.50   Class 2 (Allowed)
 Port Harbor Railroad, Inc.                                                             ABUS 113‐1                                          8/31/2016             $19,125.00   Class 2 (Allowed)
 PRECISION SCALE and CONTROLS, INC                                                      ABUS 202‐1                                          9/30/2016              $1,870.00   Class 2 (Allowed)
 Pumping Solutions, Inc                                                                 ABUS 227‐1                                         10/14/2016             $40,469.00   Class 2 (Allowed)
 Pumptek LLC                                                                              500457     Abengoa Bioenergy of Illinois, LLC            n/a            $10,236.94   Class 2 (Allowed)
 QUALITY LIQUID FEEDS, INC.                                                                 29‐1     Abengoa Bioenergy of Illinois, LLC     9/30/2016             $61,817.14   Class 2 (Allowed)
 Railworks Track Services‐ MO                                                             500459     Abengoa Bioenergy of Illinois, LLC            n/a             $1,500.00   Class 2 (Allowed)
 Rose Coffee/dba Clearbrook Natural                                                       500460     Abengoa Bioenergy of Illinois, LLC            n/a               $439.37   Class 2 (Allowed)
 RUIZ GRANADOS, JOSE                                                                      500461     Abengoa Bioenergy of Illinois, LLC            n/a            $17,243.03   Class 2 (Allowed)
 SCF LEWIS AND CLARK TERMINALS, LLC                                                       500462     Abengoa Bioenergy of Illinois, LLC            n/a             $5,544.88   Class 2 (Allowed)
 Securitas Security Services USA, Inc.                                                      4‐1      Abengoa Bioenergy of Illinois, LLC     8/31/2016             $44,560.75   Class 2 (Allowed)
 Bradford Capital Management, LLC as Transferee of SEMS, Inc.                               57‐1     Abengoa Bioenergy of Illinois, LLC     3/22/2017             $48,335.60   Class 2 (Allowed)
 Servi‐Tech Laboratories                                                                  500464     Abengoa Bioenergy of Illinois, LLC            n/a             $4,028.00   Class 2 (Allowed)
 Sieveking Inc.                                                                         ABUS 127‐1                                          9/14/2016              $2,043.76   Class 2 (Allowed)
 Sonar Credit Partners III, LLC as Transferee of BACT Equipment, Inc.                       53‐1     Abengoa Bioenergy of Illinois, LLC     1/27/2017              $9,105.22   Class 2 (Allowed)
 Sonar Credit Partners III, LLC as Transferee of Durham Enterprises, Inc. DBA             500380     Abengoa Bioenergy of Illinois, LLC            n/a             $5,760.50   Class 2 (Allowed)
 Sonar Credit Partners III, LLC as Transferee of Feed Forward, Inc.                       500388     Abengoa Bioenergy of Illinois, LLC            n/a             $3,000.00   Class 2 (Allowed)
 Sonar Credit Partners III, LLC as Transferee of Wiese USA, Inc                           500482     Abengoa Bioenergy of Illinois, LLC            n/a            $70,217.31   Class 2 (Allowed)
 St. Louis Boiler Supply Co.                                                              500469     Abengoa Bioenergy of Illinois, LLC            n/a             $6,980.15   Class 2 (Allowed)
 Teklab, Inc.                                                                           ABUS 73‐1                                           7/18/2016              $8,875.50   Class 2 (Allowed)
 The CIT Group Equipment Financing, Inc.                                                    20‐1     Abengoa Bioenergy of Illinois, LLC     9/30/2016           $720,699.48    Class 2 (Allowed)
 The CIT Group Equipment Financing, Inc.                                                    49‐1     Abengoa Bioenergy of Illinois, LLC    12/14/2016          $2,229,300.52   Class 2 (Allowed)
 The Munie Company dba                                                                    500473     Abengoa Bioenergy of Illinois, LLC            n/a             $9,284.00   Class 2 (Allowed)
 THOMAS SCIENTIFIC INC.                                                                   500474     Abengoa Bioenergy of Illinois, LLC            n/a               $276.91   Class 2 (Allowed)
 Thornburgh Insulation                                                                      18‐1     Abengoa Bioenergy of Illinois, LLC     9/30/2016              $2,659.22   Class 2 (Allowed)
 Trane US, Inc.                                                                             50‐1     Abengoa Bioenergy of Illinois, LLC    12/28/2016             $97,289.30   Class 2 (Allowed)
 TRC Master Fund LLC as Transferee of Cleaver Brooks Sales and Service, Inc.            ABUS 83‐1                                           4/10/2017             $31,941.76   Class 2 (Allowed)
 TRC Master Fund LLC as Transferee of Innospec Fuel Specialties                           500431     Abengoa Bioenergy of Illinois, LLC            n/a            $61,997.60   Class 2 (Allowed)
 TRINITY INDUSTRIES LEASING COMPANY                                                         26‐1     Abengoa Bioenergy of Illinois, LLC     9/30/2016           $209,091.81    Class 2 (Allowed)
 UNION PACIFIC RAILROAD                                                                   500478     Abengoa Bioenergy of Illinois, LLC            n/a             $1,948.00   Class 2 (Allowed)
 United Parcel Service                                                                    500479     Abengoa Bioenergy of Illinois, LLC            n/a               $364.77   Class 2 (Allowed)
 Waste Management                                                                       ABUS 156‐1                                          9/26/2016             $14,072.89   Class 2 (Allowed)
 Fair Harbor Capital, LLC as Transferee of Western Reserve Water Systems                ABUS 188‐1                                          9/30/2016             $19,565.00   Class 2 (Allowed)
 Yokogawa Corp of America                                                                 500483     Abengoa Bioenergy of Illinois, LLC            n/a            $22,511.81   Class 2 (Allowed)
 Zeller Technologies, Inc.                                                                500484     Abengoa Bioenergy of Illinois, LLC            n/a            $37,862.50   Class 2 (Allowed)
 Zumwalt Corporation                                                                    ABUS 145‐1                                          9/15/2016              $3,192.12   Class 2 (Allowed)
Abengoa Bioenergy of Case
                     Indiana 16-41161
                              - Case No. 16-44194
                                              Doc                   2117         Filed Allowed
                                                                                       12/23/20         Entered 12/23/20 14:40:09              Main Document
Abengoa Bioenergy of Illinois - Case No. 16-44195                                              Class 2 Claims - Illinois                                                        Initial Distribution
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                                         ABI / ABIL                                                                                                       ABI / ABIL Class 2
                                       Creditor Name                                      Claim No.                    Debtor              Date Filed      Claim Amount           Claim Status
4B Components Ltd.                                                                           23‐1     Abengoa Bioenergy of Illinois, LLC     9/30/2016            $19,116.20    Class 2 (Allowed)
ACCURATE SUPERIOR SCALE CO.                                                                500411     Abengoa Bioenergy of Illinois, LLC            n/a               $709.20   Class 2 (Allowed)
ACME Constructors, Inc.                                                                    500412     Abengoa Bioenergy of Illinois, LLC            n/a          $169,491.38    Class 2 (Allowed)
Alfa Laval, Inc.                                                                             22‐1     Abengoa Bioenergy of Illinois, LLC     9/30/2016             $2,662.84    Class 2 (Allowed)
American Express Travel Related Services Company                                         ABUS 152‐1                                          9/22/2016             $8,312.96    Class 2 (Allowed)
Anthem Blue Cross Blue Shield                                                              500415     Abengoa Bioenergy of Illinois, LLC            n/a           $37,050.43    Class 2 (Allowed)
Argo Partners as transferee of Badger Daylighting Corp                                   ABUS 42‐1                                             6/2/2016            $6,926.25    Class 2 (Allowed)
Argo Partners as transferee of Flottweg Separation Technology                                19‐1     Abengoa Bioenergy of Illinois, LLC     9/30/2016            $23,732.21    Class 2 (Allowed)
ASM Capital, L.P as Transferee of John Fabick Tractor Co                                     17‐1     Abengoa Bioenergy of Illinois, LLC     9/30/2016            $51,294.33    Class 2 (Allowed)
B.E. Capital Management Fund LP as Transferee for Electric Power Systems Int'l               21‐1     Abengoa Bioenergy of Illinois, LLC     9/30/2016            $55,543.00    Class 2 (Allowed)
B.E. Capital Management Fund LP As Transferee for Taylor Excavating                          16‐1     Abengoa Bioenergy of Illinois, LLC     9/27/2016            $51,362.40    Class 2 (Allowed)
B.E. Capital Management Fund LP for Cogent Inc. dba BRI                                      2‐1      Abengoa Bioenergy of Illinois, LLC     8/29/2016            $19,664.04    Class 2 (Allowed)
Bates Sales, A Division of Purvis Industries                                             ABUS 30‐1                                           5/20/2016             $1,093.48    Class 2 (Allowed)
Bearing Headquarters Co.                                                                   500419     Abengoa Bioenergy of Illinois, LLC            n/a           $30,120.93    Class 2 (Allowed)
Bodine Services of Decatur, Inc.                                                             55‐1     Abengoa Bioenergy of Illinois, LLC     2/27/2017           $108,909.50    Class 2 (Allowed)
Bodine Services of Evansville LLC                                                        ABUS 115‐1                                          8/31/2016           $104,107.25    Class 2 (Allowed)
C.H. ROBINSON COMPANY, INC.                                                                500399     Abengoa Bioenergy of Illinois, LLC            n/a               $725.00   Class 2 (Allowed)
Cargill, Incorporated                                                                        34‐1     Abengoa Bioenergy of Illinois, LLC    10/14/2016           $373,633.86    Class 2 (Allowed)
CB&I Environment & Infrastructure,                                                         500401     Abengoa Bioenergy of Illinois, LLC            n/a            $9,510.00    Class 2 (Allowed)
Cee Kay                                                                                      11‐1     Abengoa Bioenergy of Illinois, LLC     9/15/2016                $685.31   Class 2 (Allowed)
Chem‐Solv, Inc                                                                             500403     Abengoa Bioenergy of Illinois, LLC            n/a            $5,687.00    Class 2 (Allowed)
ChemTreat INC                                                                              500404     Abengoa Bioenergy of Illinois, LLC            n/a           $13,254.96    Class 2 (Allowed)
Cintas, First Aid & Safety                                                                 500405     Abengoa Bioenergy of Illinois, LLC            n/a            $8,169.00    Class 2 (Allowed)
CITY OF GRANITE CITY                                                                     ABUS 253‐1                                         10/28/2016             $7,805.67    Class 2 (Allowed)
TRC Master Fund LLC as Transferee of Cleaver Brooks Sales and Service, Inc.                  59‐1     Abengoa Bioenergy of Illinois, LLC     4/10/2017            $31,941.75    Class 2 (Allowed)
CLINTON M DALL                                                                             500303     Abengoa Bioenergy of Illinois, LLC            n/a            $4,811.54    Class 2 (Allowed)
Collins & Hermann, Inc.                                                                    500305     Abengoa Bioenergy of Illinois, LLC            n/a            $2,400.00    Class 2 (Allowed)
COMPUWEIGH CORPORATION                                                                     500306     Abengoa Bioenergy of Illinois, LLC            n/a               $860.00   Class 2 (Allowed)
Conney Safety Products, LLC.                                                               500307     Abengoa Bioenergy of Illinois, LLC            n/a            $3,712.96    Class 2 (Allowed)
COYLE SUPPLY                                                                               500308     Abengoa Bioenergy of Illinois, LLC            n/a           $16,166.03    Class 2 (Allowed)
CRG Financial LLC as Transferee of Dedert Corporation                                      500322     Abengoa Bioenergy of Illinois, LLC            n/a           $12,754.64    Class 2 (Allowed)
CSX Transportation, Inc                                                                    500309     Abengoa Bioenergy of Illinois, LLC            n/a          $215,800.20    Class 2 (Allowed)
Culligan Water of St. Louis                                                                500317     Abengoa Bioenergy of Illinois, LLC            n/a               $484.50   Class 2 (Allowed)
DATATRONICS, INC.                                                                          500319     Abengoa Bioenergy of Illinois, LLC            n/a           $25,225.10    Class 2 (Allowed)
DC GROUP INC                                                                               500320     Abengoa Bioenergy of Illinois, LLC            n/a           $25,628.64    Class 2 (Allowed)
DE LAGE LANDEN FINANCIAL SERVICES I                                                        500321     Abengoa Bioenergy of Illinois, LLC            n/a               $936.70   Class 2 (Allowed)
Delta Gases, Inc.                                                                          500323     Abengoa Bioenergy of Illinois, LLC            n/a            $3,931.27    Class 2 (Allowed)
DISCOVERY FIRST AID & SAFETY                                                             ABUS 123‐1   Abengoa Bioenergy of Illinois, LLC            n/a            $2,225.30    Class 2 (Allowed)
DKD Trucking, Inc.                                                                       ABUS 162‐1                                          9/30/2016            $11,014.61    Class 2 (Allowed)
Document & Network Technologies                                                            500379     Abengoa Bioenergy of Illinois, LLC            n/a                $61.49   Class 2 (Allowed)
DXP Enterprises Inc                                                                          33‐1     Abengoa Bioenergy of Illinois, LLC    10/14/2016             $9,615.76    Class 2 (Allowed)
E. I. du Pont de Nemours and Company                                                         8‐1      Abengoa Bioenergy of Illinois, LLC     9/15/2016            $75,905.15    Class 2 (Allowed)
E.T. SECURITY & FIRE                                                                       500381     Abengoa Bioenergy of Illinois, LLC            n/a           $10,240.00    Class 2 (Allowed)
Econo Seal, Inc.                                                                           500382     Abengoa Bioenergy of Illinois, LLC            n/a            $5,850.00    Class 2 (Allowed)
Euler Hermes North America Ins. Com                                                        500384     Abengoa Bioenergy of Illinois, LLC            n/a           $44,983.50    Class 2 (Allowed)
Eurofins Analytical Laboratories                                                             6‐1      Abengoa Bioenergy of Illinois, LLC       9/2/2016            $5,001.00    Class 2 (Allowed)
EVAPAR, Inc.                                                                             ABUS 179‐1                                          9/30/2016            $38,614.91    Class 2 (Allowed)
Fair Harbor Capital, LLC as Transferee of ASCHINGER ELECTRIC COMPANY                      ABUS 177                                           9/30/2016            $29,431.88    Class 2 (Allowed)
Fair Harbor Capital, LLC as Transferee of General Rubber & Plastics                      ABUS 229‐1                                         10/14/2016            $23,681.93    Class 2 (Allowed)
Fair Harbor Capital, LLC as Transferee of Jacobs Corporation                               500439     Abengoa Bioenergy of Illinois, LLC            n/a           $10,255.85    Class 2 (Allowed)
Fair Harbor Capital, LLC as Transferee of PREDICTIVE TECHNOLOGIES, INC.                  ABUS 174‐1                                          9/30/2016             $4,500.00    Class 2 (Allowed)
Fastenal Company                                                                           500387     Abengoa Bioenergy of Illinois, LLC            n/a           $22,362.45    Class 2 (Allowed)
FIRE PROTECTION SYSTEMS LLC                                                              ABUS 141‐1                                          9/15/2016            $35,895.35    Class 2 (Allowed)
Fire Safety, Inc                                                                           500390     Abengoa Bioenergy of Illinois, LLC            n/a               $639.90   Class 2 (Allowed)
FROESEL OIL COMPANY, INC.                                                                    25‐1     Abengoa Bioenergy of Illinois, LLC     9/30/2016                $650.00   Class 2 (Allowed)
GENERAL ELECTRIC CAPITAL CORP.                                                             500424     Abengoa Bioenergy of Illinois, LLC            n/a            $6,399.99    Class 2 (Allowed)
Granite City IL Hospital Co. LLC                                                           500426     Abengoa Bioenergy of Illinois, LLC            n/a                $81.93   Class 2 (Allowed)
Hain Capital Investors, LLC as Transferee of Bliss Industries LLC                          500420     Abengoa Bioenergy of Illinois, LLC            n/a           $16,465.68    Class 2 (Allowed)
Halo Branded Solutions, Inc.                                                                 52‐1     Abengoa Bioenergy of Illinois, LLC     1/12/2017                $900.84   Class 2 (Allowed)
Hulcher Services, Inc.                                                                   ABUS 147‐1                                          9/15/2016            $89,060.82    Class 2 (Allowed)
ICM, Inc.                                                                                 ABC 16‐1                                             6/2/2016            $9,533.75    Class 2 (Allowed)
       Abengoa Bioenergy of Case
                            Indiana 16-41161
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                                                    Doc    2117         Filed 12/23/20 Entered 12/23/20 14:40:09                                        Main Document
       Abengoa Bioenergy of Illinois - Case No. 16-44195                        Disputed Claims By Type                                                                                Initial Distribution
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                                   ABI / ABIL                                                                                  Disputed        Administrative         Priority   ABI/ABIL Class 2     Claim
                                 Creditor Name              Claim No.                 Debtor                   Date Filed   Claim Amount       Claim Amount       Claim Amount    Claim Amount        Status
Lansing Trade Group, LLC                                     ABI 30‐1   Abengoa Bioenergy of Indiana          10/14/2016        1,434,188.00       1,434,188.00                                      Disputed
The Andersons                                                ABI 47-1   Abengoa Bioenergy of Indiana          10/28/2016          829,655.11         829,655.11                                      Disputed
The Andersons                                                ABI 46‐1   Abengoa Bioenergy of Indiana          10/28/2016          923,513.69                                           923,513.69    Disputed
GATX Rail Locomotive Group, L.L.C.                           ABI 62‐1   Abengoa Bioenergy of Indiana           8/11/2017           17,016.00         17,016.00                                       Disputed
GATX Corporation                                             ABI 63‐1   Abengoa Bioenergy of Indiana           8/11/2017          198,248.00        198,248.00                                       Disputed
GATX Corporation                                             500521     Abengoa Bioenergy of Indiana              n/a                 682.58                                               682.58    Disputed
GATX Corporation                                             ABI 31‐1   Abengoa Bioenergy of Indiana          10/14/2016           78,310.00                                            78,310.00    Disputed
GATX Corporation                                             ABI 55‐1   Abengoa Bioenergy of Indiana          12/28/2016          315,277.00                                           315,277.00    Disputed
GATX Rail Locomotive Group, L.L.C.                           ABI 32‐1   Abengoa Bioenergy of Indiana          10/14/2016           73,689.00                                            73,689.00    Disputed
GATX Rail Locomotive Group, L.L.C.                           ABI 56‐1   Abengoa Bioenergy of Indiana          12/28/2016           90,871.00                                            90,871.00    Disputed
GATX Rail‐ Locomotive Rental                                 500522     Abengoa Bioenergy of Indiana              n/a             150,984.79                                           150,984.79    Disputed
Ameren Illinois                                              ABIL 1‐2   Abengoa Bioenergy of Illinois          6/18/2019          776,734.60        776,734.60                                       Disputed
The Andersons                                               ABIL 43‐1   Abengoa Bioenergy of Illinois         10/28/2016          840,842.10        840,842.10                                       Disputed
The Andersons Inc ‐ Rail                                     500471     Abengoa Bioenergy of Illinois             n/a                    ‐                                                           Disputed
The Andersons, Inc.                                            44‐1     Abengoa Bioenergy of Illinois         10/28/2016        1,043,730.57                                         1,043,730.57    Disputed
GATX Corporation                                            ABIL 61‐1   Abengoa Bioenergy of Illinois          8/11/2017            2,220.00          2,220.00                                       Disputed
GATX Corporation                                               51‐1     Abengoa Bioenergy of Illinois         12/28/2016           16,650.00                                            16,650.00    Disputed
GATX Rail‐ Locomotive Rental                                 500423     Abengoa Bioenergy of Illinois             n/a               2,220.00                                             2,220.00    Disputed
Illinois‐American Water Company                                27‐1     Abengoa Bioenergy of Illinois          9/30/2016          282,555.94                                           282,555.94    Disputed
Snap‐on Industrial (superseded by ABUS 1‐1)                  500468     Abengoa Bioenergy of Illinois             n/a               1,528.09                                             1,528.09    Disputed
                                                                                                            TOTALS              7,078,916.47      4,098,903.81               ‐       2,980,012.66




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